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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE
 7
     UNITED STATES OF AMERICA,                       )
 8                                                   )
                        Plaintiff,                   )       CASE NO. CR05-417RSM
 9                                                   )
                                                     )
10    v.                                                     )       ORDER
                                         )
11   JOHN JAY CUNNINGHAM, et al.,        )
                                         )
12                  Defendants.          )
     ____________________________________)
13
14            THIS MATTER comes before the Court on a joint motion (Dkt.#102) by the United
15   States and defendants Abraham Sheena, Lucus Quilt, Fayve Quilt, Dide Quilt, Joanne Rosette,
16   Erin Casper, and Ranger Oppenheim to sever the trial of these defendants from the trial of
17   their co-defendants and to continue the trial date. The trial date has previously been
18   continued by this Court’s Order (see Dkt.#123). Having considered the entirety of the record
19   and files herein, the Court finds that severance of trials is appropriate.
20            IT IS NOW, THEREFORE, ORDERED that the trial of defendants Abraham Sheena,
21   Lucus Quilt, Fayve Quilt, Dide Quilt, Joanne Rosette, Erin Casper, and Ranger Oppenheim is
22   severed from the trial of the remaining defendants.
23            DATED this 2nd day of February, 2006
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                                                             RICARDO S. MARTINEZ
27                                                           UNITED STATES DISTRICT JUDGE
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